     Case 1:15-cr-00045-JLT-BAM Document 78 Filed 08/21/15 Page 1 of 3


 1   Eric K. Fogderude # 070860
     FLETCHER & FOGDERUDE, INC.
 2
     5412 N Palm Ave # 101
 3   Fresno, CA 93704
     Telephone: 559-431-9710
 4   Email: efogderude1@yahoo.com
 5
     Attorney for Defendant, PRAVEEN SINGH
 6

 7

 8
                                   UNITED STATES DISTRICT COURT
 9

10                                EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                        No. 1:15-CR-00045- LJO/SKO
12
                                 Plaintiff,           STIPULATATION TO MODIFY
13                                                    CONDITIONS OF RELEASE AND ORDER
            v.                                        THEREON
14
     PRAVEEN SINGH
15
                                Defendant.
16

17

18
                                                STIPULATION
19
            It is hereby stipulated by and between the United States and Praveen Singh, by and
20
     through their respective attorneys of record that the Order of Release dated July 29, 2015, signed
21
     by Gary S. Austin, United States Magistrate Judge be modified to extend by thirty days,
22
     the time in which the defendant is to post the property bond with all other conditions not in
23
     conflict to remain in full force and effect.
24
            The parties stipulate and agree that the Addition of Conditions of Release item (7) (g) of
25
     the July 29, 2015 Order be modified to read as follows:
26
            (g) executed a bond or an agreement to forfeit upon failing to appear or failure to abide
27   by any of the conditions of release, the following sum of money or designated property:
     $ 100,000 property bond to be secured by equity in property owned by the defendant; the property
28   bond shall be posted by the close of the business day on September 17, 2015.
                                                      1
     Case 1:15-cr-00045-JLT-BAM Document 78 Filed 08/21/15 Page 2 of 3


 1   ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO
     REMAIN IN FULL FORCE AND EFFECT.
 2
            Good cause exists for this modification because additional time is needed to obtain a pay
 3
     off demand from a lien holder on the property which is being posted. Until the demand is
 4
     received, it is impossible to confirm the equity in the property. An escrow has been opened with
 5
     a title company for the sole purpose of requesting the pay off demand.
 6
            IT IS SO STIPULATED.
 7

 8                                                       FLETCHER & FOGDERUDE, INC.

 9                                                       /s/ Eric K. Fogderude
     Dated: August 18, 2015                               ___________________________
10                                                       Eric K. Fogderude,
                                                         Attorney for Defendant, PRAVEEN SINGH
11

12                                                       BENJAMIN B. WAGNER
                                                         UNITED STATES ATTORNEY
13
     Date: August 18 2015                                /s/ Mark E. Cullers
14                                                       __________________________________
                                                         Mark E. Cullers
15                                                       Assistant United States Attorney

16

17

18

19

20
     ///
21
     ///
22
     ///
23
     ///
24
     ///
25
     ///
26
     ///
27
     ///
28
                                                     2
     Case 1:15-cr-00045-JLT-BAM Document 78 Filed 08/21/15 Page 3 of 3


 1
                                                 ORDER
 2
            IT IS SO ORDERED that the release Order dated July 29, 2015 be modified as to
 3
     Additional Conditions of Release item (7)(g) to read as follows:
 4

 5          (g) executed a bond or an agreement to forfeit upon failing to appear or failure to abide
     by any of the conditions of release, the following sum of money or designated property:
 6   $ 100,000 property bond to be secured by equity in property owned by the defendant; the property
     bond shall be posted by the close of the business day on September 17, 2015.
 7
     ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO
 8   REMAIN IN FULL FORCE AND EFFECT.

 9

10
     IT IS SO ORDERED.
11

12      Dated:     August 20, 2015                            /s/ Gary S. Austin
                                                     UNITED STATES MAGISTRATE JUDGE
13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                     3
